
















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-07-231-CV



NOBLE EZUKANMA, M.D. AND 	APPELLANTS

HEALTHFIRST MEDICAL GROUP, 

P.A., AND KRISHNABABU 

CHUNDURI, M.D. 



V.



ROBERT GENE CUNNINGHAM, 	APPELLEES

INDIVIDUALLY AND AS REPRESENTATIVE 

OF THE ESTATE OF PATRICIA MAUDINE 

CUNNINGHAM, DECEASED, ROBIN LEE 

CUNNINGHAM BISHOP, AND TRACY 

JEANNE CUNNINGHAM LANG



AND



ROBERT GENE CUNNINGHAM, 	APPELLANTS

INDIVIDUALLY AND AS REPRESENTATIVE 

OF THE ESTATE OF PATRICIA MAUDINE 

CUNNINGHAM, DECEASED, ROBIN LEE 

CUNNINGHAM BISHOP, AND TRACY JEANNE 

CUNNINGHAM LANG



V.



LADI O.M. 
HAROONA, M.D.
	APPELLEE



----------

FROM THE 141
ST
 DISTRICT COURT OF TARRANT COUNTY

----------

MEMORANDUM
 
OPINION
(footnote: 1) 
AND JUDGMENT

----------

We have considered 
appellants Noble Ezukanma, M.D. and HealthFirst Medical Group, P.A.
 and appellees Robert Gene Cunningham, 
Individually and as Representative of the Estate of Patricia Maudine Cunningham, Deceased, Robin Lee Cunningham Bishop, and Tracy Jeanne Cunningham Lang
’s “Joint Motion To Dismiss.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss appellants’ appeal of the final judgment entered in appellees’ favor only. &nbsp;
See 
Tex. R. App. P. 42.1(a)(2), 43.2(f). 

Costs of appellants’ appeal of the judgment entered in appellees’ favor 
shall be paid
 by 
the party incurring the same
, for which let execution issue.



PER CURIAM	





PANEL: &nbsp;GARDNER, DAUPHINOT, and HOLMAN, JJ.



DELIVERED: &nbsp;December 11, 2008

FOOTNOTES
1:See 
Tex. R. App. P
. 47.4.




